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                     EXHIBIT 33
*
    PI
                                                      Case 4:24-cv-00338                   Document 44-35     Filed on 03/28/25 in TXSD               Page 2 of 5




         From:                                   Beckham, Renee    -

                                                                       HHD

         Sent:                                   Thursday, February 23, 2023 8:58 AM CST
         To:                                     HHO   -




         Subject:                                Re: Need permit

         Attachments:                            Guidelines 2023.pdf, Classes 2023.pdf


         Good morning Ms. Coleman.
         Thank you for your inquiry regarding feeding the homeless community in Houston.
         There are 2 options available:

           e     PRIVATE PROPERTY

                 1.   Obtain written permission from the property owner to use the site
                 2.   Provide receptacles for trash containment and removal of litter, unused foods, from the property after the feeding event
                 3.   Free food handling training for one or more members of the food service group provided by the Houston Health Department.

           e     CITY OF HOUSTON PROPERTY 61 Riesner St., Houston, TX 77002
                                                  -




                 1. Provide adequate personnel to conduct the food service event and restore the site at the conclusion of the food service event.

                 2. Provide adequate trash receptacles, trash containment and removal measures to contain all trash, refuse, and litter on the site of the food service event and to properly
                    dispose of all trash, refuse, litter and remove unused foods from the site at the conclusion of the food service event.
                 3. Adherence to guidelines for food preparation, transport, serving, handling, storage and packaging in accordance with the FDA model food code/Houston Food
                    Ordinance. Free food handling training for one or more members of the food service group provided by the Houston Health Department.

         Please contact us if you have any questions.
         Thank you,
         Renee L. Beckham, RS
         Chief Sanitarian
         Houston Health Department
         Bureau of Consumer Health Services
         832-393-5133 (office) | 713-502-0378 (cell)
         8000 N. Stadium Drive | Houston, TX 77054
         HoustonConsumer.org | Facebook | Twitter

                        HOUSTON HEALTH
                        DEPARTMENT



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         Client/Patient privileged information. If you are not the intended recipient, you are hereby notified that reading, disseminating, distributing or copying this message is strictly prohibited.

         From: HHD CHS <CHS@houstontx.gov>
                        -




         Sent: Wednesday, February 22, 2023 3:52 PM
         To: Beckham, Renee HHD <Renee.Beckham@houstontx.gov>
                                 -




         Subject: FW: Need permit

         PPP?




                                                                                                                                                                                                              COH 034176
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Please respond to the customer’s request and let me know at chs@houstontx.gov when contact is made.

Thanks,

Conrad




From: Parish Coleman
Sent: Wednesday, February 22, 2023 11:45 AM
To: HHD CHS <CHS@houstontx.gov>
          -




Subject: Need permit

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Sent from my iPhone




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     Cage              || =                   q                                             COH 034178
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